                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 CANDICE RANA SULFRIDGE,                   )
                                           )
                    Plaintiff,             )
                                           )
 v.                                        )     No. 3:05-CV-188 and 191
                                           )     (Phillips/Guyton)
 JOHN HUFF, et al.,                        )
                                           )
                    Defendants.            )
 _____________________________________________________________________________

 ADAM TRAVIS DAVIS,                                   )
                                                      )
                       Plaintiff,                     )
                                                      )
 v.                                                   )
                                                      )
 JOHN HUFF, et al.,                                   )
                                                      )
                       Defendants.                    )


                                MEMORANDUM AND ORDER

                This matter is before the undersigned pursuant to 28 U.S.C. § 636(b), the Rules of

 this Court, and by Order [Doc. 176] of the Honorable Thomas W. Phillips, United States District

 Judge, for disposition of defendant John Huff’s Motion to Quash [Doc. 174] and Motion for

 Protective Order [Doc. 175].

                The defendant John Huff moves to quash the plaintiffs’ First Set of Interrogatories,

 Notice of Depositions, and Request for Production of Documents propounded in this case. [Doc.

 174]. The defendant further moves for a protective order from any further oral or written discovery

 until the motion for summary judgment based on qualified immunity is heard. [Doc. 175].




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                The plaintiff failed to file a response to the defendant’s motion within the time period

 required by E.D.TN. LR 7.1(a). “Failure to respond to a motion may be deemed a waiver of any

 opposition to the relief sought.” E.D.TN. LR 7.2.

                “Qualified immunity is ‘an entitlement not to stand trial or face the other burdens of

 litigation.’” Saucier v. Katz, 533 U.S. 194, 200 (2001) (quoting Mitchell v. Forsyth, 472 U.S. 511,

 526 (1985)). As the Supreme Court has noted, one of the purposes of the defense of qualified

 immunity “is to protect public officials from broad-ranging discovery that can be peculiarly

 disruptive of effective government.” Anderson v. Creighton, 483 U.S. 635, 646 n.6 (1987) (internal

 quotation marks omitted). Accordingly, until the threshold issue of qualified immunity is resolved,

 “discovery should not be allowed.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982); see also

 English v. Dyke, 23 F.3d 1086, 1089 (6th Cir. 1994) (“While the issue [of qualified immunity] is

 before the trial court or the case is on appeal, the trial court should stay discovery.”).1 Accordingly,

 for good cause shown, the defendant John Huff’s Motion to Quash [Doc. 174] and Motion for

 Protective Order [Doc. 175] are GRANTED. Discovery in this case is hereby STAYED pending

 the resolution of the qualified immunity issue by the District Court.

                 IT IS SO ORDERED.
                                                 ENTER:

                                                       s/ H. Bruce Guyton
                                                 United States Magistrate Judge


         1
         The Supreme Court has also recognized that “limited discovery may sometimes be
 necessary before the district court can resolve a motion for summary judgment based on
 qualified immunity.” Crawford-El v. Britton, 523 U.S. 574, 598 n.14 (1998). Having failed to
 respond to the defendant’s motion, however, the plaintiff has not made any showing that any of
 the requested discovery is “tailored specifically” to the issue of qualified immunity. See
 Anderson, 483 U.S. at 646 n.6. Absent such a showing, all of the requested discovery should be
 stayed at this time.

                                                    2


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